                  ·"
             Case 1:15-cv-22093-JEM Document 1 Entered on FLSD Docket 06/02/2015 Page 1 of 20
.   '   ..   '
             ·•                                                                                             FILED by {§ u.c.
                                                                                                                   JUN 02 2C~5
                                                                                                                STEVEN M.LARIMORE
                                                                                                                CLERK U. S. OIST. CT.
                                                   15-cv-22093-Martinez/White                                    S. D. of FLA. -MIAMI               ge 2
                                         MOTION UNDER 28 U.S.C. § 2255 TO VACATE, SET ASIDE, OR CORRECT
                                                           SENTENCE BY A PERSON IN FEDERAL CUSTODY

                             United State• Diltriot Court                               I District Southern District of F orida
                             Name tullller which )'011 -    convicWdl:                                         Docket or Caae No.:
                                  CARLOS RODRIGUEZ
                             Place   or Confinement:                                                  Pri1oner No.:
                                 D. RAY JAMES C.F.                                                          82805-004
                         UNITED STATES GF AMERICA                                            Movant <illsJllllll namu under whiclt )'011 " " ' convl$t!J

                                                                                   v.        CARLOS RODRIGUEZ

                                                                                  MOTION

                        1.     (a} Name and location of court that entered the judgment of conviction you are challenging:
                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION                                                 cat/div         O/lJ/Z.2~S~MIPr
                                                                                                  Case# .,, c.R 2.1 ciit)
                               (b) Criminal docket or caae number (if you know):                  Judge :CSM    Mag w H I TEf
                    2.         (a} Date of the judgment of conviction (if you know):              Motn lfp                             Fee pd $ _ _
                                               OCTOBER 26, 2011                                      NO        0
                                                                                                  Receipt#--------
                               (b) Date of sentencing: OCTOBER 25, 2011
                    3. Length of sentence:                           84 MONTHS
                    4.        Nature of crime (all counts):

                       COUNT 1 : CONSPIRACY TO VIOLATE THE FCPA ( 1 5 § 78dd-2) AND
                                  AND TO COMMIT WIRE FRAUD (18 U.S.C. § 3143), IN\',
                                  VIOLATION OF 18 U.S.C. § 371.
                       COUNTS 2-8: SUBSTANTIVE COUNTS OF FCPA
                       COUNT 9: CONSPIRACY TO COMMIT MONEY LAUNDERING, IN VIOLATION
                                  OF 18 U.S.C. § 1956(h).
                       COUNTS 10-21: SUBSTANTIVE COUNTS OF CONCEALMENT MONEY LAUNDERING,
                   5. (a)Whatwasyourplea?(CheCkone) IN VIOLATION OF 18 U.S.C. § 1956(a) (1 )(B)(i)
                                   (1}    Not guilty t¥                   (2}   Guilty Q        (3)    Nolo contendere (no contest) 0
                             (b) If you entered a guilty plea to one count or indictment, and a not cuilty plea to another count
                             or indictment, what did you plead guilty to and what did you plead not guilty to?

                                                                         "N/A"



                   6.        If you went to trial, what kind of trial did you have? {Check one)                 Jury .XX             Judgeonly Q
          ..
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                . Case 1:15-cv-22093-JEM Document 1 Entered on FLSD Docket 06/02/2015 Page 2 of 20
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                                                                                                                                                                                                    Page 3

                                       7.     Did you testify at a pretrial hearing, trial, or post-trial hearing?                                                Yes 0                 No rJ
                                       8.     Did you appeal from the judgment of conviction?                                                                    Yes I                  No 0
                                       9. If you did appeal, answer the following:                                    UNITED STATES COURT OF APPEALS
                                          (a) Name of court:                                                          FOR THE ELEVENTH CIRCUIT
                                                                                    11-15331-C
                                             (b) Docket or case number (if you know):
                                             (c) Result:          AFFIRMED THE CONVICTION AND SENTENCE.
                                             (d) Date of result (if you know):                         MAY 11 , 201 4
                                             (e)Citationtothecase(ifyouknow): UNITED STATES v. ESQUENAZI, 2010 U.S. Dist.
                                             (f)Groundsraised:                LEXIS 143572 (S.D. Fla., Nov. 19, 2010)


                                                                                SEE EXHIBIT A




                                             (g) Did you file a petition for certiorari in the United States Supreme Court?                                                         YeslCI         No 0
                                                  If ''Yea," answer the following:
                                                  (1) Docket or case number (if you know): 14-189
                                                  (2) Result:                   DENIED

                                                                               OCTOBER 6, 201 4
                                                  (3) Date of result (if you know):
                                                  (4)Citationtothecase(ifyouknow): 135 S. Ct. 293, 190 L. Ed. 2d 141,
                                                                                   2014 U.S. LEXIS 6543, 83 U.S.L.W.:l189
                                                  (5) Grounds raised:



                                                                                   SEE EHXIBIT B




                                    10. Other than the direct appeals listed above, have you previously filed any other motions,
                                            petitions, or applications concerning this judgment of conviction in any court?
                                                 Yes a          Nal@l:
         --···-··· ..·-·····-·-··········~-l.:...!f.!..~.':1.!..!~~.!..~~-~~.~~.~~!~.~..!~...!!:~~~!.~~ . ~!~--~~.~ . f.~!~.~.!i~'--i~.f.~~~~.t.~~n: . -----·--·--...........................- ..................---·-·-..-·--........
                                            (a) (1) Name of court:                                                   "N I A"
                                                (2) Docket or case number (if you know): "N I A 11
                                                (8) Date of filing (if you know):
  '•
        '   .Case 1:15-cv-22093-JEM Document 1 Entered on FLSD Docket 06/02/2015 Page 3 of 20
                '.,




                                                                                                                                                                                                      Page .C
                                                 (4) Nature of the proceeding:                                             "N/A"
                                                 (6) Grounds raised:

                                                                                                                          "N/A"




                                               (6) Did you receive a hearing where evidence was given on your motion, petition, or
                                               application?              Yes 0 No 0                                      "N/A"
                                              (7) Result:
                                              (8) Date of result (if you know):                                          "N/A"
                                                                           -- ---·- -- -·· -·- ---- --
                                       (b) If you-filed any second motion, petition, or application, give the same information:
                                             (1) Nameofcourt:                                                                          "N/A"
                                             (2) Docket or case number (if you know):
                                                                                                                                       "N/A"
                                             (3) Date of fiHng (if you know):
                                             (4) Nature of the proceeding:                                                             "N/A"
                                             (6) Grounds raised:

                                                                                                                                       "N/A"




                                           (6) Did you receive a hearing where evidence was given on your motion, petition, or
                                          application?                Yes 0           No 0                                            "N/A"
                                          (7) Result:
                                          (8) Date of result (if you know):                                                          "N/A"
                                   (c) Did you appeal to a federal appellate court having jurisdiction over the action taken on your
                                   motion, petition, or application?                                                                 "N1An

·········-··---..·-····-·-··--·-···-----·-J.~l...-~~~.!!.~~~~~~!...............!~~-. ~ . . . . ~~-E________,,..._. ____,,,......................--.....-..........................................__________________ . .________,.,,
                                         (2) Second petition:                     Yes 0             No 0                             "N/A"
               Case 1:15-cv-22093-JEM Document 1 Entered on FLSD Docket 06/02/2015 Page 4 of 20

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                                                                                                                                                                                                                               Page 5
                                             (d) If you did not appeal from the action on any motion, petition, or application, explain bricf1y
                                             why you did not:

                                                                                                               "N/A"

                                     12. For this motion, state every ground on which you claim that you are being held in violation of the
                                            Constitution, laws, or treaties of the United States. Attach additional pages if you have more
                                            than four grounds. State the fadi§ supporting each ground.


                                    GROUND ONE: INEFFECTIVE ASSISTANCE OF TRIAL COUNSEL

                                    (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
                                        1) TRIAL COUNSEL FAILED TO MOVE TO DISMISS THE INDICTMENT,
                                           ALLEGING THAT IT WAS FATALLY DEFECTIVE.
                                        2)        TRIAL COUNSEL FAILED TO ARGUE IN THE MOTION FOR JUDGMENT
                                                  OF ACQUITAL THE MATERIAL VARIANCE BETWEEN THE SINGLE CON-
                                                  SPIRACY CHARGED IN THE INDICTMENT AND THE MULTIPLE CONSP=
                                                  IRACIES PROVEN AT TRIAL.
                                        ~)        TRIAL COUNSEL FAILED TO ARGUE IN THE MOTION FOR JUDGMENT
                                                  OF ACQUITAL THE INSUFFICIENCY OF EVIDENCE.THAT MOVANT KNEW
                                                  THAT THE TRANSACTION CHARGED WAS DESIGNED IN WHOLE OR IN
                                                  PART TO CONCEAL THE NATURE 1 LOCATION 1 SOURCE 1 OWNERSHIP 1
                                                  OR CONTROL OF THE PROCEEDS OF SPECIFIED UNLAWFUL ACTIVITY.
                                         4) TRIAL COUNSEL FAILED TO OPPOSE TBE.FCPA JURY INSTRUCTION
                                  (b) Direct Appeal of Ground One;
                                          (1) If you appealed from the judgment of conviction, did you raise this iBBue?
                                                                 Yes 0             No lD
                                         (2) If you did not raise this issue in your direct appeal, explain why:

                                               THIS CANNOT BE RAISED IN A DIRECT APPEAL.

                                 (c) Post-Conviction Proceedings:
                                         (1) Did you raise this iSBue in any poet-conviction motion, petition, or application?

                                                                Yes 0 No~
                                         (2) If your answer to Question (c)(l) is "Yes," state:

 ·-·-····-···-····------------·. ·····--······!r.P.!. .~~-~~-t~-~n.. ~.r.. P.~-~~~!~!tL.................-..------·-·-·····---~~~.l_!!.~~-----. ·-··--····..···----······--·····. -----..······--···-···-···--------·······-----..·····--···--···.......- ..............
                                         Name and location of the court where the motion or petition was filed:

                                                                                                                                      "N/A"
         Case 1:15-cv-22093-JEM Document 1 Entered on FLSD Docket 06/02/2015 Page 5 of 20
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                                                                                                                    Page 6
                         Docket or case number {if you know):                        "N/A"
                         Date of the court's decision:                               "N/A"
                         Result {attach a copy of the court's opinion or order, if available):

                                                                                     11
                                                                                          N/A 11
                         (3) Did you receive a hearing on your motion, petition, or application?
                             Yes 0    No 0                                           "N/A 11
                         (4) Did you appeal from the denial of your motion, petition, or application?
                            Yes 0     No a                                           11
                                                                                          N/A 11
                      (6} If your answer to Question (c)(4) is "Yes," did you raise this. issue in the appeal?
                            Yes a    No a                                           "N/A II
                      (6) If your answer to Question (c}(4) is "Yes," state:
                      Name and location of the court where the appeal was filed:

                                                                                    "N/A"
                      Docket or case number (if you know):
                      Date of the court's decision:                                 "N/A"
                      Result (attach a copy of the court's opinion or order, if available):

                                                                                    "N/A"
                     (7) If your answer to Question (c)(4) or Question (c){5) is "No," explain why you did not appeal or
                     raise this issue:

                                                                                    "N/A"




                 GROUNDTWO:              INEFFECTIVE ASSISTANCE OF APPELLATE COUNSEL


                 (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
                      1;) APPELLATE COUNSEL FAILED TO ARGUE IN THE DIRECT APPEAL
                             THAT THE DISTRICT COURT ERRED IN ITS LOSS CALCULATIONS.

                         2) APPELLATE COUNSEL FAILED TO ARGUE IN THE DIRECT APPEAL
                             THE MATERIAL VARIANCE BETWEEN THE SINGLE CONSPIRACY
  ·-·----·-··----·--··----·-cmm:GED IN 'I'HiriNDICTMENT"._ANIY-·THE···MOLTIPL~ CONS"PIRJ{""CIT1ECI"IS~--··-·-··-·-·---····
                             PROVEN AT TRIAL.

                      3) APPELLATE COUNSEL FAILED TO ARGUE THE INSUFFICIENCY OF
                         EVIDENCE PRESENTED AT TRIAL THAT MOVANT AGREED TO ( 1 )
                         "ACCOMPLISH A COMMON AND UNLAWFUL PLAN TO VIOLATE 18 U.S.C.
                         § 1 956 OR 1957; OR -(2) KNEW TRANSACTION WAS DESIGNED IN



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             Case 1:15-cv-22093-JEM Document 1 Entered on FLSD Docket 06/02/2015 Page 6 of 20
  '·                            WHOLE OR IN PART TO CONCEAL OR DISGUISE THE NATURE,
. ..                            LOCATION, SOURCE, OWNERSHIP, OR CONTROL OF THE PROCEEDS •

                       · 4) APPELLATE COUNSEL FAILED TO ARGUE THAT THE FCPA JURY
                            INSTRUCTIONS WERE DEFECTIVE.
                                                                                                                                                                                  Page 7



                                (b) Direct Appeal or Ground Two:
                                      (l) If you appealed from the judgment of conviction, did you raise this issue?
                                            Yes 0         No I
                                      (2) If you did not raise this issue in your direct appeal, explain why:

                                           I DO NOT KNOW WHY IT WAS NOT RAISED IN MY DIRECT APPEAL.

                               (c) Post-Conviction Proceedings1
                                     (1) Did you raise this iaaue in any post-conviction motion, petition, or application?
                                           Yea Q         No !X
                                     (2) If your answer to Question (c)(l) is KYes," state:
                                    Type of motion or petition:                                        "N/A"
                                    Name and location of the court where the motion or petition was filed:
                                                                                                       "N/A"
                                    Docket or case number (if you know):
                                    Date of the court's decision:                                      "N/A"
                                    Result (attach a copy of the court's opinion or order, if available):


                                                                                                       "N/A"
                                   (8) Did you receive a hearing on your motion, petition, or application?
                                         Yes a          No 0                                           "N/A"
                                   (4) Did you appeal from the denial of your motion, petition, or application?
                                         Yea 0         No 0                                            "N/A"
                                   (5) If your answer to Question (c)(4) is "Yes," did you raise this issue in the appeal?
                                         Yes a         No 0                                             "N/A"
                                   (6) If your answer to Question (c)(4) is "Yes," state:
                                   Name and location of the court where the appeal was filed:
                                                                                                        "N/A"
                                  Docket or case number (if you know):
                                  Date of the court's decision:                                         "N/A"
                                  Result (attach a copy of the court's opinion or order, if available):

   ·--...........--··--·--·------·-..--···---···· . ·-----·--·----·---------···-···. ·-..--·--"N/.A..--·-··------...-................................-----..---·-----····-----·--······-·. --................... .
Case 1:15-cv-22093-JEM Document 1 Entered on FLSD Docket 06/02/2015 Page 7 of 20




                                                                                                         Page 8
           (7) If your answer to Question (c)(4) or Question (c)(5) is "No," oxplain why you did not appeal or
           raise this issue:

                                                   "N/A"




       GROUNDTHREE:INEFFECTIVE ASSISTANCE OF COUNSEL

       (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

           MOVANT ASSERTS THAT COUNSEL RENDERED INEFFECTIVE ASSISTANCE
           FOR THEIR CUMULATIVE ERRORS THAT LED TO A FINDING OF GUILT.




      (b) Direct Appeal of Ground Three:
         (1) If you appealed from the judgment of conviction, did you raise this issue?
             Yes 0      No 10
         (2) If you did not raise this issue in your direct appeal, explain why:

             NOT COGNIZABLE IN A DIRECT APPEAL.

      (c) Post-Conviction Proceedings:
         (1) Did you raise this issue in any post-conviction motion, petition, or application?
             Yes 0     No 2S
         (2) If your answer to Question (c)( I) is *'Yes," state:
         Type of motion or petition:                    "N/A"
         Name and location of the court where the motion or petition was filed:
                                                        "N/A"
        Docket or case number (if you know):
        Date of the court's decision:                   11
                                                             N/A 11
 Case 1:15-cv-22093-JEM Document 1 Entered on FLSD Docket 06/02/2015 Page 8 of 20
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                                                                                                            Page 9

                Result (attach a copy of the court's opinion or order, if available):

                                                            "N/A"

                (3} Did you receive a hearing on your motion, petition, or application?
                                                            11
                    Yes Cl    No CJ                              N/A"
                (4) Did you appeal from the denial of your motion, petition, or application?

                    Yes 0     No Cl                         "N/A"
                (5) If your answer to Question (c}(4) is ''Yes," did you raise this issue in the appeal?
                   Yes 0     No 0                           11
                                                                 N/A"
              (6) If your answer to Question (c)(4) is ''Yes," state:
              Name and location of the court where the appeal was filed:

                                                            "N/A"
             Docket or case number (if you know):
             Date of the court's decision:
                                                            "N/A"
             Result (attach a copy of the court's opinion or order, if available}:

                                                            11
                                                                 N/A"
             (7} If your answer to Question (c)(4) or Question (c)(5) is "No," explain why you did not appeal or
             raise this issue:
                                                            11
                                                                 N/A 11




                                                            11
         GROUND FOUR:                                            N/A 11

         (a} Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):




                                                           11
                                                                 N/A"




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               Case 1:15-cv-22093-JEM Document 1 Entered on FLSD Docket 06/02/2015 Page 9 of 20

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                                                                                                                                                                                   Page 10




                               (b) Direct Appeal of Ground Four:
                                    (1) If you appealed from the judgment of conviction, did you raise this issue?
                                          Yes 0 No 0                                              "N/A"
                                    (2) If you did not raise this issue in your direct appeal, explain why:

                                                                                                  "N/A"

                              (c) Post-Conviction Proceedings:
                                    (1) Did you raise this issue in any post-conviction motion, petition, or application?
                                         Yes 0 No 0                                                 "N/A"
                                   (2) If your answer to Question (c)(l) is "Yes," state:
                                   Type of motion or petition:                 "N 1An
                                   Name and location of the court where the motion or petition was filed:

                                                                                                    "N/A"
                                   Docket or case number (if you know}:
                                   Date of the court's decision:                                    "N/A"
                                   Result (attach a copy of the court's opinion or order, if available):


                                                                                                    "N/A"
                                   (3) Did you receive a hearing on your motion, petition, or application?
                                        Yes 0        No 0                                           "N/A"
                                  (4) Did you appeal from the denial of your motion, petition, or appUcation?
                                        Yea 0        No CJ                                            "N/A"
                                  (5) If your answer to Question (c)(4) is "Yes," did you raise this issue in the appeal?
                                        Yes Q        No Q                                             "N/A"
                                  (6) If your answer to Question (c)(4) is "Yes," state:
                                  Name and location of the court where the appeal was filed:


                                                                                                      "N/A"
                                  Docket or case number (if you know}:
                                  Date of the court's decision:                                       "N/A"
     ·-·--·---··--······-·······--·--..--~~!..':!!~Ja._t~~~--~--~PI.~!~~~-~~:-~~-~!~!~!l-~~--~~-~!~.·---~-~.Y~~!-~~1 ':?..:..............__   c.• ___________________________ ..______________________..........................




                                                                                                        "N/A"
                Case 1:15-cv-22093-JEM Document 1 Entered on FLSD Docket 06/02/2015 Page 10 of 20

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                                                                                                                                                                                                     Page 11
                                            (7) If your answer to Question (c)(4) or Question (c)(5) is "No," explain why you did not. appeal or
                                           raise this issue:
                                                                                                                              "N/A"




                                    13. Is there any ground in this motion that you have D.Qt previously presented in some federal court?
                                           If so, which ground or grounds have not been presented, and state your reasons for not
                                          presenting them:                     ALL OF THE GROUNDS CLAIMED IN THIS MOTION
                                                                               HAVE NOT PREVIOUSLY BEEN PRESENTED IN ANY
                                                                               FEDERAL COURT.




                                   14. Do you have any motion, petition, or appeal now pending (filed and not decided yet) in any court
                                         for the judgment you are challenging?                                      Yes Ill No 0
                                         If "Yes," state the name and location of the court, the docket or case number, the type of
                                         proceeding, and the issues raised.

                                         UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF FLORIDA
                                         400 NORTH MIAMI AVENUE
                                         MIAMI 1 FLORIDA
                                         CASE NO. 09-21010-CR-MARTINEZ
                                         MOTION FOR NEW TRIAL, RULE 33(NEWLY DISCOVERED EVIDENCE)
                                  15. Give the name and address, if known, of each attorney who represented you in the following
                                        stages of the judgment you are challenging:
                                        (a) At preliminary hearing:                             ARTURO HERNANDEZ
                                                                                                40 N.W. 3rd STREET, SUITE 200
                                                                                                MIAMI, FLA. 33128
                                        (b) At arraignment and plea:
                                                                                                SAME AS (a)
                                        (c) At trial:                                           SAME AS (a)


     ·---··-·......-..............--.---··.......(~}.-~!J~~!:l~E~if!l:_________......___ .... _..~~~~.--!_c:t) __. _____. _____............................._.-.... _...............-------·-·......................--·--·-..--..··-·····
  ,   . Case 1:15-cv-22093-JEM Document 1 Entered on FLSD Docket 06/02/2015 Page 11 of 20

                                                                                                                                                                                                      Page 12
                                                           . DAVID SIMON, PAMELA L. JOHNSON,
                                             (e) On appeal. JAIME B • GUERRERO' G • MICHAEL HALFENGER'
                                                              JAMES F. CIRINCIONE, LAUREN VALIENTE (FOLEY & LARDNER LLP:
                                            (1) In any post-conviction proceeding: 777 E • WISCONSIN AVE, MILWAUKEE, WI. 53202

                                                                             "N/A"
                                           (g) On appeal from any ruling against you in a post-conviction proceeding:

                                                                                           "N/A"

                                    16. Were you sentenced on more than one count of an indictment, or on more than ono indictment, in
                                        the same court and at the same time?
                                   17. Do you have any future sentence to serve after you complete the sentence for tho judgment that
                                       you are challenging?      Yes 0 No Jl
                                         (a) If so, give name and location of court that imposed the other sentence you will servo in the
                                         future:
                                                                                            "N/A'

                                        (b) Give the date the other sentence was imposed:                                                                "N/A"
                                        (c) Give the length of the other sentence:
                                                                                                                                                         "N/A"
                                       (d) Have you fUed, or do you plan to file, any motion, petition, or application that challenges the
                                       judgment or sentence to be served in the future? Yes 0 No Q


                                                                                                                                                        "N/A"




-..···~---·---···--··..--··--......._....,.-........~·~·-·- ·······--·----------·--·---····----------. -·--·--·-------·~-----··-···-···-----··-·"·-··~.......-~~--·-···---········---·--·----·..·-·...........____________________..
       Case 1:15-cv-22093-JEM Document 1 Entered on FLSD Docket 06/02/2015 Page 12 of 20
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                     18. TIMELINESS OF MOTION: If your judgment of conviction became final over one year ago, you
                          must explain why the one-year statute of limitations as contained in 28 U.S.C. § 2255 does not
                          bar your motion. •

                          THIS § 2255 MOTION IS TIMELY FILED BASED ON THE FACT THAT
                          A PETITION FOR WRIT OF CERTIORARY WAS DENIED ON OCTOBER 6,
                          2014. TBERJFORE, THIS MOTION IS FILED WITHIN THE ONE-YEAR
                          STATUTE OF LIMITATIONS AS CONTAINED IN 28 U.S.C. § 2255.




                  "' The Antiterrorism and Ef'fective Death Penalty Act of 1996 ("AEDPA") as contained in 28 U.S.C.
                  § 2255, paragraph 6, provides in part that:
                      A one-year period of limitation shall apply to a motion under this section. The limitation period
                      shan run from the latest of-
                          (1) the date on which the judgment of conviction became final;
                          (2) the date on which the impediment to making a motion created by governmental action in
                          violation of the Constitution or laws of the United States is removed, if the movant was
 -·····----···--..-··---··--·------·-Ts)~~:~a~te~!'w~r:~~t:~;h~ =~!~~:~ii~&iii;:.:io~l.:atibynine"S'uj;reme"UOurt;·u--··------. -···- ..
                          that right baa been newly recognized by the Supreme Court and made retroactively
                          applicable to casea on collateral review; or
                          (4) the date on which the facta supporting the claim or claims presented could have been
                          discovered throurh the exercise of due diligence.




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     Case 1:15-cv-22093-JEM Document 1 Entered on FLSD Docket 06/02/2015 Page 13 of 20




                                                                                                                  Page 14
              Therefore, movant asks that tho Court grant the following relief:

               VACATE, SET ASIDE, OR CORRECT SENTENCE, OR AT A MINIMUM
               GRANT A EVIDENTIARY BEARING
             or any other relief to which movant may be entitled.


                                                                                 "N/A"

                                                                         Signature of Attorney (if any)



             I declare (or certify, verify, or state) under penalty of perjury that. the foregoing is true and correct
             and that this Motion under 28 U.S.C. § 2255 was placed in the prison mailing system on
                              (month, date, year).



            Executed (signed) on    ()! (J,:J- ~IS             (date).




            If the person signing is not movant, state relationship to movant an
            signing this motion.
Case 1:15-cv-22093-JEM Document 1 Entered on FLSD Docket 06/02/2015 Page 14 of 20




                          USA v. CARLOS RODRIGUEZ

                                  EXHIBIT A
Case 1:15-cv-22093-JEM Document 1 Entered on FLSD Docket 06/02/2015 Page 15 of 20



                             QUESTIONS PRESENTED

  1 • WHETHER THE DISTRICT COURT ERRED AS A MATTER OF LAW IN ITS
      JURY INSTRUCTION REGARDING WHAT CONSTITUTES AN "INSTRUMENTALITY"
      OF A FOREIGN GOVERNMENT FOR PURPOSES OF CONSTRUING THE COUNTS,
      INCLUDING THE MONEY LAUNDERING COUNTS,. THAT WERE DEPENDENT
      UPON THE FOREIGN CORRUPT PRACTICES ACT ( "FCPA 11 ) •
  2. WHETHER THE DISTRICT COURT ABUSED ITS DISCRETION WHEN IT REFUSED
     TO BOLD AN EVIDENTIARY HEARING CONCERNING THE CIRCUMSTANCES AND
     HISTORY REGARDING A DECLARATION FROM THE CURRENT HAITIAN MINISTER
     OF JUSTICE THAT STATED THAT TELECOMMUNICATIONS D1 HAITI ( 11 TELEC0 11 )
     WAS NOT AN "INSTRUMENTALITY" OF THE HAITIAN GOVERNMENT THAT THE
     GOVERNMENT 'l'UR.NED OVER JUST AFTER THE JURY 1 S VERDICT FOLLOWED
     BY A SECOND DECLARATION THAT THE UNITED STATES GOVERNMENT WAS
     INVOLVED IN PROCURING THAT REVERSED THE FIRST DECLARATION, WHICH
     CONTAINED CLEAR EXCULPATORY EVIDENCE.
  3. WHETHER THE DISTRICT COURT ERRED AS A MATTER OF LAW IN ITS
     "KNOWLEDGE JURY INSTRUCTION REGARDINGTHE FCPA-DPENDENT COUNTS,
     INCLUDING THE MONEY LAUNDERING COUNTS.
  4. WHETHER THERE WAS SUFFICIENT EVIDENCE TO SUPPORT JURY'S VERDICT
     AS TO FCPA COUNTS.
  5. WHETHER THE DISTRICT COURT PLAINLY ERRED WHEN IT SUBMITTED THE
     WIRE FRAUD-DEPENDENT COUNTS, INCLUDING THE MONEY LAUNDERING COUNTS,
     TO THE JURY BASED ON AN ERRONEOUS JURY INSTRUCTION THAT FAILED
     TO REQUIRE PROOF THAT OF THE JURISDICTIONAL FACTS NECESSARY FOR
     FEDERAL WIRE FRAUD, THAT IS THAT THE WIRE COMMUNICATIONS CROSSED
     STATE LINES. (i.e., inter-state communications)
  6. WHETHER THE DISTRICT COURT PLAINLY ERRED IN ITS MENS REA INSTRUCT-
     ION TO THE JURY REGARDING THE WIRE FRAUD-DEPENDENT COUNTS,
     INCLUDING THE MONEY LAUNDERING COUNTS, BECAUSE THE JURY WAS NOT
     ASKED TO FIND INTENT TO DEFRAUD FOR THE WIRE FRAUD-DEPENDENT
     COUNTS.
  7. WHETHER THERE WAS SUFFICIENT EVIDENCE TO SUPPORT THE JURY'S
     VERDICT AS TO THE WIRE FRAUD-DEPENDENT COUNTS.
  8. WHETHER THE GOVERNMENT'S ATTEMPT TO CHANGE THE BASIS OF ITS
     WIRE FRAUD THEORY FROM WIRE TRANSFERS TO FACIMILES CONSTITUTES
     AN IMPERMISSIBLE VARIANCE FROM ITS INITIAL THEORY OF THE CASE.
  9. WHETHER THE DISTRICT COURT ERRED AS A MATTER OF LAW IN ITS JURY
     INSTRUCTION OF WHAT CONSTITUTED A VIOLATION OF THE HAITIAN BRIBERY
     LAS AS PROPER PREDICATE FOR THE MONEY LAUNDERING COUNTS.
 1 0. WHETHER THE DISTRICT COURT ABUSED ITS DISCRETION IN NOT GRANTING
      A MOTION TO DISMISS THE MONEY LAUNDERING COUNTS WHERE THE "PROCEEDS"
      OF PREDICATE CRIMES WERE THE SAME TRANSFERS OF MONEY THAT WERE
      CHARGED AS THE MONEY LAUNDERING TRANSACTIONS, THEREBY VIOLATING
Case 1:15-cv-22093-JEM Document 1 Entered on FLSD Docket 06/02/2015 Page 16 of 20


     THE MERGER RULE, AND WHETHER THERE WAS SUFFICIENT EVIDENCE TO
     SUPPORT JURY•s VERDICT AS TO THE MONEY LAUNDERING COUNTS FOR
     THE SAME REASON.
 11. WHETHER MR. RODRIGUEz•s SENTENCE MUST BE VACATED.
 12. WHETHER THE FORFEITURE ORDER AND THE FORFEITURE ASPECT OF THE
     AMENDED JUDGMENT AND COMMITMENT ORDER MUST BE VACATED BECAUSE
     THE ORAL SENTENCE PRONOUNCED BY THE DISTRICT COURT DID NOT ORDER
     FORFEITURE.
Case 1:15-cv-22093-JEM Document 1 Entered on FLSD Docket 06/02/2015 Page 17 of 20




                          USA v. CARLOS RODRIGUEZ

                                  EXHIBIT B
Case 1:15-cv-22093-JEM Document 1 Entered on FLSD Docket 06/02/2015 Page 18 of 20


                             QUESTIONS PRESENTED

  1. WHETHER THE ELEVENTH CIRCUIT'S DEFINITION OF "INSTRUMENTALITY"
     UNDER THE FOREIGN CORRUPT PRACTICES ACT ( FCPA) , 1 5 U.S. C.
     § 78dd- 2, AS "AN ENTITY CONTROLLED BY THE GOVERNMENT OF A
     FOREIGN COUNTRY THAT PERFORMS A FUNCTION THE CONTROLLING
     GOVERNMENT TREATS AS ITS OWN" ( 1 ) FAILS TO STAISFY THE CONS.,..·
     TITUTIONAL REQUIREMENT OF ADEQUATE NOTICE OF WHAT SPECIFIC
     CONDUCT VIOLATES THE FCPA, AND (2) IS ERRONEOUSLY DERIVED FROM
     COMMENTARY TO AN UNRELATED TREATY THAT POSTDATES THE FCPA 1 S
     ENACTMENT.

  2. WHETHER THE ELEVENTH CIRCUIT ERRED BY CONCLUDING THE PETITIONER'S
      FCPA CONVICTIONS DID NOT MERGE WITH THEIR CONVICTIONS FOR
      VIOLATING THE ACT ON THE LAUNDERING OF MONETARY INSTRUMENTS,
      18 U.S.C. § 1956, WHERE BOTH WERE BASED ON THE SAME PAYMENTS
      MADE BY THIRD-PARTY INTERMEDIARIES TO THE ALLEGED FOREIGN
      OFFICIALS EMPLOYED BY HAITI TELECO.
            Case 1:15-cv-22093-JEM Document 1 Entered on FLSD Docket 06/02/2015 Page 19 of 20




                                 car1os Rodriguez
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                                 P.O. Box 2000                                                                                                                          ·--..,_
                                 Fo1kston, GA. 31537



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